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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PAUL SOMERS,                                        Case No. 14-cv-05180-EMC (KAW)
                                   8                   Plaintiff,
                                                                                            ORDER GRANTING DEFENDANTS'
                                   9            v.                                          MOTION TO STRIKE
                                  10    DIGITAL REALTY TRUST INC, et al.,                   Re: Dkt. No. 302
                                  11                   Defendants.

                                  12          On March 20, 2018, Plaintiff filed a motion to recuse the undersigned. (Dkt. No. 288.)
Northern District of California
 United States District Court




                                  13   Plaintiff's motion was accompanied by a declaration, which referred to an "Exhibit A" of data

                                  14   about visitors to the website SomersDecision.com; the exhibit, however, was not attached to the

                                  15   declaration. (Somers Decl. ¶ 2, Dkt. No. 288-1.)

                                  16          On April 3, 2018, Defendants filed an opposition to Plaintiff's motion to recuse. (Dkt. No.

                                  17   292.) Defendants also pointed to the lack of Exhibit A to Plaintiff's declaration. (Dkt. No. 294 at

                                  18   2.) On April 13, 2018, Plaintiff filed his Exhibit A on the docket, providing no explanation for the

                                  19   delay in filing. (Dkt. No. 301.) That same day, Defendants filed objections and a motion to strike

                                  20   Plaintiff's Exhibit A, arguing that the exhibit was untimely, particularly when it had been filed

                                  21   after Defendants' opposition was due. (Dkt. No. 302.) Plaintiff did not respond.
                                              The Court agrees that Exhibit A is untimely and that Plaintiff has failed to explain the late
                                  22
                                       filing. Accordingly, the Court GRANTS Defendants' motion to strike, and will not consider
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                                       Plaintiff's Exhibit A.
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                                              IT IS SO ORDERED.
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                                       Dated: April 30, 2018
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                                                                                             __________________________________
                                  27                                                         KANDIS A. WESTMORE
                                                                                             United States Magistrate Judge
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